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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE

 MARC WATERMAN,                                   )
                                                  )
                       Plaintiff,                 )
                                                  )   Case No. 1:21-cv-00539-LPS
        v.                                        )
                                                  )
 CANTEL MEDICAL CORP., CHARLES M.                 )
 DIKER, GEORGE L. FOTIADES, ALAN R.               )
 BATKIN, ANN E. BERMAN, MARK N.                   )
 DIKER, ANTHONY B. EVNIN, LAURA                   )
 FORESE, RONNIE MYERS, PETER                      )
 PRONOVOST, KAREN N. PRANGE,                      )
 STERIS PLC, SOLAR NEW US HOLDING                 )
 CO, LLC, and CRYSTAL MERGER SUB 1,               )
 LLC,                                             )
                                                  )
                       Defendants.                )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action.

 Dated: May 18, 2021                                  RIGRODSKY LAW, P.A.

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